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          EXHIBIT
                               3
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                                                            :)08


  1750.                            CILTPTER CCCLXXNVIII.
 Lrif-J
            An lr0'I for thc more efecttutl ltreaenting accidetfis which ntay
             Impltett |tyf, e, and fo r s upP s i tig id ne s s, d r mt k erutes s ranl. otlrc r
                                                   ?' e s          Ie

               dehaucherics    , (r)
                       TO the end the provisions already made by our laws, for pre.
                 venting accidents rvhich may happen by fire in the city of Philadel-
                 phia, and several other boroughs and towns, rvithin this province,
                 nray be made more generally useful, and to prevent, as much as irt
                 us liesrthe grorving sins of idleness, drunkenness, and other debauch-
Formcr lnus eries, too frequent anrong trsr Be it enacted, That if any person
agninst firirrg
cbrmn tes,       or persons rvhatsoever, rvithin any county totvn, or withiu any other
{vor[s. $6. torvn or borough, in this province, already bt.ilt
fiuns, fire-                                                                    and settled, or
extended.        heleafter to be built and seltled, not hitherto       restricted    nor provid-
                 ecl for by our larvs, shall set on fire their chimnies to cleanse them,
                 or shall sufbr thern or any of them to take fire, and blaze out at
                 the top, or shall fire any gun or other fir'e-arm, or shall make, or
                 cause to be macle, or sell or utter, or offer to expose to srle, any
                 squibs, rockcts or other fire-rvorks, or shall cnst, throlv or fire any
                squibs, rockets or' other fir'e-rvorks, rvithin any of the snid tovns or
                lrorottghs, rvithont the Governorts special licence for the samer eve-
                ly such pel'son or pelsons, so offending, shall be subject to the like
                pentlties and forfeitures, anrl to be recovered in like rnannerr -as in
                and by tn act, 1:assed in the eighth year ot' the reign of King
                Gcorge the first, entitlecl, An, act for ltreventing accidents that
                tnuy tiapput. by.f rc, are clirected to be levied and recovered,              (r)
                          Pnssecl 9th Fcbruary, 1750-1.-ltecorcled A. vol, 1II. pnge 240.


             1-rJ Ior r genernl t'efetencc to the           The remainiutr sectionr of this cct,
           'ecis lbl preventiug ltccidcttts by fire, see plobibiting horsd-rnccs, shooting match-
           lrrtc' clrap, ?{5. ( tYote to ;fitrnrcr etli- es, &c.ltrve been sttperseded antl suppli-
           tion.)                                        crl hy the act for the strppression of vicc
              fs
               t^(
                   ) This section :ts fir as it reletes  :rrrd itrrmot'alit;', clrlp.1747. (Nate tt
           to firing chirnrries, is repealed autl sup" ,fonner cdition.)
           llictl, cltap, 1307.
                                                   r---f-*-


                                          CITAPTBR CCCXC.
           An. itC'I to encaurugc the cstallishittg 0f an flo.spital, for the
             relirf of the sicl poor of this,lrovinct, and for thc reception' and
              t:ut's 0f hma'tichs.

                 WIIEREAS the saviug aud t'estorirrg uscful arrd laborious
           :uernbers to ft comTnunity is a rvork of public ser-vicer and the relief
            of the sick poor is not only an act of hurnanity, bttt a r-eligious
           rluty : An<l rvhereas there are frequently in many palts of this-pro-
            '.'inie poor disternpererl persons' rvho languish long in pain and rni-
           ,scl'yr ilnder varior.rs {isor:clers of llody and mind, and being scatter-
Case 7:21-cv-05334-NSR Document 67-3 Filed 11/30/22 Page 3 of 22
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         All TEE'FIRST SNSSION


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S OT B'TBT, I:t   TIl SIU $tEIt&Ir .B.S$DNBLT.

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    SWABts @&' UUU0WB$StsB"



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                  K,IIVXF nLB, ?rJtfifE$Str Bj.
                          PNINTED trT
                ' uDISICELL&BROWN,
            xwilc Pni$TEnsro rfix s?.d?&
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                      S,EBU,r

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                                               t8
                          ;iu possession.of.the tract ofschool land or bny 1ic\t
                            tlrercof for rvlrich they rvere appointed sommissioncrs
                           snd shall also lravc potver to bring and prosecute
                           suits igoinst all and every person wlro uray bomnrit a
                           trespass or. tiespasses on atry such tract of school
                           land, and sltnll lrave potven to do all otlter acts nnd
                           things'ncccssaiy to be done, to cftrry tlte pt'ovisions
                           of tbis or auy former act into full force and c{fcct ; und
                           the original-surveys rnade tberefor, shall be consider-
                           ed as vesting the legal titlc in'the same mannel'0s
                           thoush .crants'had issued tlrercon.
          Itcnorl of cor.      Sct. iA. Bcltennctctl, That tlio 9th nndl lOth sec-
        fl?Ifi ecctions.   tions  of an act fassed nf I(noxville, thc 24tlr Novcttt'
                                                    ((
                           bsyr, l8l?, entitled;' And act to provide for leasing
                      sclrool lands, and for otlter pttrposes,tt and tlrc se-
                      concl and third seclrons ofan act passed at lllurflees-
                      borough,July2S, l890,entitled, " Atl act to tttttend
                      an acfpassed dt Knoxville,'24tlr Novenrbcr. 1817, cu'
                      tilled, ;' An     act   to providc for' leasitrg sclrool
                      lands-and for other purposcs,t'slrall netnain in full
                      force and e{fcct, and ill iithct' acts and pnrts ol'aols
                      rvithin thetneaning nfid purvicrv of this ac! are lrercby
                      repcaled.
                         3.c. ,18, Be it amclcd, That all suits, eithcr in latv
                      or equiiy, rvhictr may hivc iicen conrittcnccd by thc
                      chaiimaii of the borird of comtnissioners of school
                      land for any county, shall corrtinue and be prosecrttcd
                      in the srm6 rvay ns thouglr'this act had not pnbscrl.
                         Sec. 14. Bit it cnucted, That the cornmissionet's
                      herctofore appointed for tlre county of Bedfcrd shall
                      lravq arrd cxctcise' the pottet's hereby given to eaclt
                      and cvery board of comlnissioners heioby autlrorised
                      tp be'creatcd
                                             JNO. Ii. CAMP,
                           Speaker of the l{ouse of Repreecntatires, 1tt'o lctllr
                                             S. BIIEWIiR;
                                  .'             Speakcr of the Scnate,
                         j{ovember 16, 1891.
                                                 *-..-
                                         CHAPTDB LXLIIII
                      &n ,f[ct to proltibit the i'nprapct Ttrtt'ctice of sltooting dt
                      ' rrcllcs wlthin, the linits qf the lowns oI llds ila'te, or willdn,
                        ttuo lrundretl ynrds of any public [road] of tlrc firct or se-
                          cond class,
        pcnolry for Sec. 1. Be it enncled' by thc Gmual.llssenfil41 of thc
        iUootirigrvith' $1a1g o-f Tamessce, Tlrat any pel'son or persolts rvlto
        tn-lhe.b('unds slrnll iftcr the first tlar of ,lalrtrarl' net(1, shoot' ut a
        Yrt,H''"tuot"' rnril 1vithin ttre bounrls of any torvn, or n'ithin trvc



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       buntlred yarils.of any public
                                             rord of the firstor seeonil J\jt      .:l+{
       cless rvithin     ilris   rtater   sucll.  person ol' . p€tsons $o '-----
       iii.,,,lit,g slrall lrt: s-utrject to a litte ol'tcu dolluls cuch,
       i" l'r ruJor,.retl bcfote any justrce ol'tbe peuce lvithin
        ii,, ruun,y lvltct'e suclt o(Ie ttsc r0aybo coomitted, lor
        -'- bertctit. of
       thc               the  inforrlrer.                             I,
           Sr", 2. Be it carcletl, Tltat'if such offence ohall be
       ooururitlcd itt tlte prcstrrrr:e otl a justice of tlre pcuce, it
       is lrcrcby Ittutle lltc duly of srrch ,irrstice ol'tlrc puace to
       oivc ir,foiruntiorr ogain'st. suclr o[[errdcr or o[[enrlerso
       in rrhich cosctlre lbtfeiturc slrnll be applied to countS/
             r
       '!DUI'po$es.              JNo. H..crtil'IP.
           Speaker of the I{ouse-of'RePrescrtiatives, Ttro left

                       ..              Spealier oflhe $cuatc.
          Novembcr 16r        l32l'
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                          CIInPTDt[ LXIX.
      ,In ,l7ct prcscriling th,e mu,tnrr oJ.ltst'utg o! lanls lot       ,


         pnynint o.f ttwisii ceflain {ish'icts, and {or otlwt.p
         p0scs.
         Src,     l.IJeit enrr:ted;by tln GenQt'alJ)ssenbly o/ Urc          iifrri,l.ffi
       Statc o.f. Tennessce, That. it slrall hc the duty of r:tclr
      prinr:iill survcy,rJsoutlt ind rvest of the congressiottal
      i'rr..u'*{ron lirie, and oi thc Srtrve5or Ge nr:Irnl of tlre
      rlistlict o[ [:Iirvassec, 'att11 south <lIFrench Bro'ad and
      Iiolston, od or.,beforc ll,e lifst day of Apt'il nexl' to
      rnlkrr ortt.aid trnrimit to the.r:lerk of ehclr cortnly
      witirin lris distlict, a list or altslt'act of all the cltritns
      to Iands ttrnt may comc to his lrnoivledg,e, and rvlriclr
      may lic rvitlrin the countics of said clerks re$pucl.ive-
      ly, lrnrl of thc county or counlies oltacltetl tlrct'elo,
      aiirl not or;;rnized by any act passed nt this prencnt
      Grruerol Aisernbly, siatilrg distinctly in said list, tlrc
      nonros of 'thc ottncrs, nnd rvhelher il be. heltl by glant
      or crltry, antl in eolurtins opposite lhe nanreg of the
      ou'ircri,'tlrc numbet of tlre e,ntry, (ol' glant as the p# I
      rnry be, if rvitlrin his knorvledge') also. in seporoic                )


      colirmns for tlrat purpose llte ntttnbcr of tlrc range.ancl
      Ecctinn, and quautityofacres, contnined in etclr claim
      in form lollorvipg :
        r9ncf$           on               No, ol No. ol si:c- Qutttt
       Nlrncs     of                      fotlg0,   tion        Aerel

         r\nd it strall be {.he dut-r' of sairl Sttt'vcyors irr tlfc
      tnontlt of Janttnry in r:vet'y ,vcat aftcr tlre peliod aforc'
      said, in liko maincr to tiansrnit to said clerl<s a lisl


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                                        ACTS
                                                   ot' 'l lt H




            GBNBRAL ASSBMBTY

                                                       OT




                                   VIRGINIA,

                                                                                           '1846,
         PASSr:D AT Ttle st:SsION Coltllt$t\iclft-G nECt:lrrlt:n 7,                                 .rUn

                                   ENDINc nIAncII 23, 1847,




                                                   tN'l'tlfi




           stt\r [':N'r Y.rtn $'l' Y ltAtt or'l'I I Ii coll illoN \y [lA L'l'II




                                           RICT.I[IOND:
                     ! I tl li r!t, lltf, ntt Enfr-l'lrr!{Tf,n   T0 collYOllll trl l,Tll
                                                     M.t?.
                 Case 7:21-cv-05334-NSR Document 67-3 Filed 11/30/22 Page 9 of 22
                 Dcposiliorts,-Unlauful Shooting,         $7
Crr.u. 78.-An ACT authoriz'.tr,l}:rj:5j"* of thc dcpositions of distrut


   r. Be it cnacrur r,       ,1i"ff;:)';ilI;liil].,rlnt in arrv suir nr tnrl,cornmrrrronro
upon nfidnvit sctting"fortlr ihnt n rvitncsr t"oii,hr nroqe tlinn onc lttttr- l,'i!',i,liJilill1il''
drcd nriles frorn tlrc nlncc of lroldillo the court irr u,hiclr thc suit is nrvu'rcrr'
                                                                              ncrs.t, ltorv
nii'ai'is,-;.iii"g i"i,ii'-i*ii,. n,'i''i,'riitl' i;-i;;-i';;i;;i tiio "itnn"
will provc, nnd tlrc rcilsons on rvlrich suclr expcctntiotr is fottrtrlcd,
snid court in terrn, or the clcrk irr vncation, on thc rrrotion of thc
party filiug such n{fidutit, rnny nrvnrd n corrrnrission to tnkc thc tlepo'
sition of snid ryitncss ; und tlic dcpositiou tnkcrt irr pursunnce thcrcof, Norico to orlvcrlc
upon rcilsonnblc rrotice, rvitlr a copy of tlre srrid oflidnvit to tlte nd. PtrtrY'
vcrsc pnrty, slrnll bc rcnd ns cvidcricc on tlre trinl oI thc cnusc ; /'1"p- tlrccltlonr to rlc'
                                                                                   p.tltl.ttr'
 uitlcrt,' 'iliir tcsi,lc, otlrcr liropcr escepti0us to tlrc rlcposition, it'shnll
bc lnrvful for thc advcrse pnrty to filc iu u'ritirrg nn csccption to thc
credibility of tlrc rvitrrcss, or'of tlre testitnony to rvlrich he has dc'
ltosed, rvliich cxccption shnll bc acled ou utrtl dctcrnrined lly tlrc court,
bcfore tlic jury is-srvorn, and nu ordcr sustnittitrg it slrnll hnvc thc
c0'cct to-mrike void the'cornmission for tnki:rg sri'd tvirncss's dcposi'
tiott, nnd to prevcnt tlre issuing ol any <ltltcr contntission l'or tho
suure purposc: And pruvidulr'l'lrn[ lot good cause sltetvtt, tltc cottr! l\'lrrn tvitncsr
                                                                                               u'ut-
rny ,'o,1iiiro thc pcis'nnnl ntlcndance ol' tlrc tvitttcss,                        illlli:'"u
    2. 'f his act shnll bc itt lorcc lrorn tlrc pussirtg thcrcof,                  corrrtnonccnrcrl'


Cu,rp. ?C.-An ACT providing for tlrc prrnishntettt of cortnin oll'enccs rvitlrin
             rrro cirios, r"*"i;::::,11;;1,11';:JiI      cor'rrro'*cnrtrr'

   l. Ilc it ennctctl by thcgcnual nsseultly,'flrnt if nny pcrson slrnll lllq
                                                                         lJnlnwful rhr,ot.
                                                                              in plrbllc
unlnrvlully shoot nt nnoiher in nrry public s(ltrilrc, strcct, litno or nllcy, dln:0lrJrC,tI Inls.
or otlrcr plucc oI public rcsort irt arry city, towtr or borortgh rvithitr rlttrtrrnt|ot,
this corumotrwcaltlr, rvitlr irttcnt iu so rloitrg to tttnint, disfigurc, disn'
blc or hill suclt persou, or to do hitrt sonre othcr llodily llartn, orrvitlt
inteut to resist or prcvcut llrc latlful rtpprchcrrsion or dcterrtion of thc
porty so ollcrrding, or oI ntry othcr pcrsotrs, cvcry suclt offcrrdcr, his
uidcrs nnd ubcttois, slrall bc grrilty of a high rnisdcrncilnor, otrd slrlll
on convictiorr, be putrislrcd by irrrprisontnent itt tltc cotrttnott jrril for llrn hlrnlcul,
n pcriorl not lcss tlratr six montlts nor rnorc thln thrcc ycurs ; arrd l|0nnlty.
shirll rrroreolcr be fitrcrl irt it stttn uot lcss tltatt onc hundt'crl tlollnrs,
nor rnorc thnn otre tlrousltrd dollrtrs, to bc nsccrtairrcd by thc vcrdict
qf n irrry.
   2. 'Ilris nct shnll be ilr forcc frotrr tlrc pnssitrg tlrereof.                C0illtD0[ccntcIt.


Clr,rl'. 80.-An ACT to provirle for thc npprclrcttsiotr of prisoncrs ascnping
         t'rorrt tlrc pcnitetrtiory,rt:|j'i:.l;:ifi of fclons thcruin.
                                                   [;#'O
   Whercrs therc is uo tutlrority vestcd in nny person to ofi'cr il com- l"r,nmblo.
petcnt rcrvrrrd lor thc apprcltcttsiou of lclotrs escnlling frotn tltc pcni'
iortinry in tirnc to tnaltc sttclt rctvnrd irvailnblc : l"or rctrtcrly rvlrereol,
   l. llc it cttuclul Lu thc genct'ul nssrnnhlll ,'f Irnt it slrull bc larvful tt,'rtnr,ls ror.l,ri-
lor thc superirrtcudcttf, o, .o"u,, us prncticrrliic nflter- llrc-cscitpc of arry il',',',:"'iJ,iii[lllil
glrisoncr or prisoncrs frorn tltc pcnitetttilty, or elsctvlterc frotn ltis nrv.
tustorly, shrll courc to lris lcnorvlcdgc, to o{Icr a cornpctcttt retvnrd
for tlrs apprehctrsiott nnrl rerlclivcry of suclt prisoner or prisottcrs, not
exccedirrg lor an.v onc prisoncr tlrc sutn of five hundrcd tlollarsi onc llorv tobc prld.
half of ri'hiclr rervard to bc paid out of thc fuuds of the institrttiolr,
and tlro otlrcr tralf to bc plid by thc said supcrintendnnt, his seven
assistant kccpers und tltc guards lor thc interior of thc pcnitentiury,
Case 7:21-cv-05334-NSR Document 67-3 Filed 11/30/22 Page 10 of 22
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                    ACTS,

RESOTUTIONS AND MEMORIATS

                       IDOPTEI' BY fSE




   FOURTII IEGISTATIVE ASSUMBTY

                           OF TSE




TERRITORY'Otr' ARIZOI{A.

 SESEION AEGUN ON TEE FOUNTS DAI OF EEPTEUBEB, AND ENDED
         oN TEE SEYnNTE DAY OF OdTOBEB, A. D, 1807,
                       AT PNESCOTT,




                    PREgOOtTT
OFT'ICE OF TITE Aa,IZONA MINER,
          OFFICIAL PAPER, OT TEE TERNITORY.
                          I868.
        Case 7:21-cv-05334-NSR Document 67-3 Filed 11/30/22 Page 12 of 22



                      LAIfS OF ARIZONA                          2l
have failed or refused to join in said work; all of which shall be
sustaineal by the oath or affirmation of one or more. of the par-
ties applying; and upon such application beiug made the clerk
of the sa.icl court shall post a notice at the office of the County
Recorder and in two other conspicuous places within the dis-
trict, statiug ihe application ancl notifying the parties interested
that unlessthey eppe&r within sixty days and. show good cause
why the prsyer of the petitioner should not be granted, that
the same wiil be grantecl if good cause c&n be shown.
  Snc. 4. At the expiration of said sixty days, if the party or
parties aotifiecl do not &ppear and show gooil cause why the
prayer of the petitioner ehoulal not be granted, the court shall
appoint two commissioners to go upou the ground and segre-
gate the claims of the parties refusing to join; and in case they
do not agree, they to choose a third party; and said commis-
siouers shall make a report in writing to saial courb, who shall
issue a decree in conformity wiih said report, which shall be
final except appeal be taken to the Supreme Court within thirty
days after issuance thereof.
  Snc. 5. The provisions of this act shall not apply to the

""::::J
           ;Tfincr parr or acrs in connicr w*h rhe provi-
sions of this act are hereby repealecl.

  Src. 7. This act to take effect ancl be in force from ancl after
its passage.
  APrnovpo September 30, 180?.




                            AN ACT
To prct:ent the intproper use of Deatlly Tlreapons and flrc fndis-
 . uiminale use of Fire Arms in tlrc Towns and Yillages qf the
   Territory,

Be it enactecl by the Legislaiive Assembly o{ the Territory of
    Arizona:
  Srcrrox 1. That eny person in this Territory, loving, earry-
ing or procuring from another person, any dirk, dirk knife,
bowie knife, pistol, gun, or other cleailly we&pon, who shall in
the presence-of two or more peroons, draw or exhibit any of
said deadly wea,pons iu a rude, a,ngry or threatening manrler,
not in necessary self defence, or who shall in any manner un-
lawfully use the same in any fight or quarrel, the pereon or per-
Bons so offending upon conviction thereof in any criminal court
 Case 7:21-cv-05334-NSR Document 67-3 Filed 11/30/22 Page 13 of 22



22                     LAWS OIl ARIZONA,

in any county of thi,s Ten'itory, shall be fined in any sum not
less than one hunclred uor more than five huudred dollars or
imprisonment in the county jail not less than one nor more
than six months, in the cliscr6tion of the courb; or both such
fine aucl imprisoument, together with the cost of prosecution.
   Src. 2. That any person or persons having or carrying any
pistol or gun who shall in the public stleets or high'ways dis-
charge the same indiscriminately, thereby clistulbirrg the peace
and quiet, and enilangering the lives of the inhabitants of any
town or neig'hborhoocl in this Terdtory, such person or perso-ns
upon couviction thereof before any Justice of the Peace in the
county where such oil'ence may be committecl shall be frned in
     s.r* uot less than ten ,rori -o.. than fifty clollars and im-
"oy
prisonment  in the county jail not less than two nor more than
ten days, in the discretion of the Justice of the Peace, toget'hel
with the cost of prosecution.
  Snc. 3. It shall be the cluty of all sheriffs, eleputy sheriffe,
constables, ancl all peace officors ancl private citizens to see that
the provisions of section secontl of this act are enforcecl, by in-
founing on a1l persons violating' its provisious, by lnving' them
arrested ancl brought beforo the proper officer for tris,l and
punishment.

  Src. 4. It is hereby macle the duty of all civil and peoce
o{ff.cers in this Territorl'to be cliligent in cnu.ying into eII'ect the
provisions of section one of this act, as well also as all grand
juries, or grancl jurors, to enquire into and make presentment
of each and every ofence against the lirovisions of sai<l sectiorr
one of this act which shali come wifhin their knowledge. And
it is also marle the ilutv of all judges in this Territory to 5Jive
said section one in chorge of the grancl juries at each term of
theil respective coults.
   Snc. 5. This act shall take eft'ect ancl be in force from ancl
ofter its prlss&ge.
  Arrnoveo Septenrbcr 30. 18G?.



                              AN ACT
A'mend,atory of an act entitlecl "An Act authoriaing the Board of
   Superuisors of Yaoapai County to leuy a Special Tu,r Jbr tlte pur'
  pose of raisirxg .funcls to lturcltuse tlw necessat'y Grounds ancl to
  crect tltereon a JaiL," apprul'e(J Nouenfter 6fli, 1866.

Be it enacted by the Legislative Assembly of the Territory of
  Arizona:
  Sncrrox 1. Saicl act is hereby amencled so as to rea<l as fol-
lows:
Case 7:21-cv-05334-NSR Document 67-3 Filed 11/30/22 Page 14 of 22
  Case 7:21-cv-05334-NSR Document 67-3 Filed 11/30/22 Page 15 of 22




         b.r-riUrAti-IrAW$:

                        OF TIIS




  TW"ELI'"I'FI LE(} ISLATURE

                        oF rns




STATIJ OF TtrX,,A.S.

  FIRST 9E88lON-18?','l .


                tsY AUTHORfTT.




                       \USTIN:
   Fllil,lTtrD ltY J. G. 'rnAcY, STAl'r,) Plllli'll:n'
                         1B?1.
     Case 7:21-cv-05334-NSR Document 67-3 Filed 11/30/22 Page 16 of 22




                             SPICIAL I.,AWS.                                      11

 Ecl't'ices retrdcrc(l bv Lim hc shall t'cccivo such fccs ns nrc nllorvcd
justiccs of thc pcudo for sirnilnr scrriecs, ntui hc shrll lrtve jurisilic-
 tion to try nnd-tlctct'miuc nll iufractiorrs ot'vtolnt.ions of thc lurvs of
tho colpirlltiotr, unrlcr suclt rulcs o.s muy bo plcscribctl by tlro
coutrcil. IIo Hlrnll lru,r'c porrcr to jssuo suuh rrurriurts rurtl llroccss ns
nay bc n()cc$sary to crrlblco his .juristlictiorr,
    Src. 0. 'IhJ G,tvct'tro1 s[nli rippoipt I m{t.liol', ttltlct'tneu, nnd
mnlshal, of srrid colpolltion, rvlro sirnll lroll tlrr"'ir o{licus rt'spcct-
ivcly, rrrrtil tltc ncxt gcrrclal clcctiotr, or, urrtil r-rtlrcrit'isc Jrlovitlcrl by
lrrv I utul il slrtll bc thc tlrrty ol thc rnnyor rrrul ururlllrul to cuusc nn
clcciiorr to lrc hcltl lnnunllj thclerlicr,'lt ltust tctt rlrryn bel'olo thc
cxlririrti,rtt of tlriril telrn o['ollicc, {'ol tho clcction of nlloliice'rs ltr:r'ein
provitlerl fbrl rtrrrl shouLl srri,l un..yor nltl rrrirr'*lrirl Iril or t'cfuso to
ot'rlur tiry su'.:h cluution, thcrr lny fivc citizcns ot'srrirl cor'ponttiotr tnily
ot'clar rrtrd holl srrid olocl,ion-altcl givirrg {ivc tlrr-vs nr-'ticc. All
pclJ0ns rvho t'csitlo rvitlrin thc colpii,rrto'iin,itr, ri,,l ulo cntitlcrl
utrrlcr thc Coni,titrttiorr tttttl lrrtvs of ilris Stltc to vol,c, sltttil, ntrder
this r:hurtcr', trc culitlctl to volc ut nrry clcetiorr helcin lrlovitlcd for,
atrtl thc rnrryol slrnll lrrrvo porvcr to orilcr clcctiorrs to fill nll vncnll-
cics tlrrrl, lnuy occrlr by rc.rrsotr of rluttL. rcsigrrntiorr, rurrl ulltct'tvistt,
    Stc. 10.1 TLnt this nct shull tukc .n'**t rir,l bc iri lirrcc lrorn urrd
nftcl its l)irssirgc.
    Applovcil l\lrrr.uh 8, ]871.




                            OIIi\PTDlt \rL
.AN rtCT T0 INC0ltlOIliTE Tl{Ii Tt,Wti 0r IIILI,ICIif, COIIN'I'I Ott
                                      BIl,tZ0S,


   -Ilc it cnaclal lty lhc Legisluture oJ' the x\latc of 'fcn'u.s, irs
Ibllorv: :
    .r\nt'tcl,n 1. 'llhnt nll thnt pari of thc county of llltzos, to-rvit :
I[uvirrg fol rr ccntt'c point thc siolc houso of ll.-J. lilrclton, uutl cx-
tontling flom thclo rrolth, otrc urilc I soutlr, orro tnik: I rvcst, <rno
milo I cut, otrc nrilo I slrrrll coustit,uto thc toryr'r of trlillicrrrr.
    Anr, 2, That tho inhrbiturrts of' thc toryu of lfillictn. as tho
sntno cxtcnrlg rrud is lrrirl out ns rrl.rivc, nntl thcir succcssols bo atttl
nt'c hct'chy cotrstitutcrl n eot'potirtiorr nrrd llody lxrlitic irr firct nntl in
l,rrv, by th() lulrnc rurrl stylc o['tlro "lloryn of ilIillicurr," ond hy tlrnt'
nutuc sltull lravc pcr'pctunl succcssion, shull suc nutl bo sucd, im-
            Case 7:21-cv-05334-NSR Document 67-3 Filed 11/30/22 Page 17 of 22




12                               SPDCITIL LA\YS.
plcrrl nntl bo irnplcndcd, dcfend nnrl bo dcfcndctl, in nll courts of lnrv
irnd cnuitv. airrl in rrll ncliotrs wltrrtsocver.
    an'r.    b,     'l'hrrt tbcrc slrull bc    t  toln council, to connlst of o.
 llnvot'ond Iloalrl of Altlclrncn I tlrrrt tho llourd of Aldct'rncn shnll
corriist of fir'o rncutbcls, to llc chosc.tr for tn'o ycnt's, by tlrc rlunlifietl
 votclR I atul no I)ur'$on slrtrll lic rrn nltlet'tnrut,-ttltlcss [rc bc rt t'itizctr
of tho $tuto of 1lc-rus, ttrtl tt Irotr:r fidc t'ciirlctrt of tlro lotvn, rttrd
rhrrll hnvc rcsir'icrl rvithin'tlrc torvn lirlritr lbl six rrrotrtltg plcccrlirrg
his clcclion. Thnt' jl uuy irll.:rtnttr glt,rll, nftcl his trlcctiotr, l'Drllovo
fi'onr tltc totvn, lrir olficc slurll tlrclrl!ry bc vrrcnltlrl. 'ltltu lou'tr c"'t'tlt-
cil slrrrll iurluc oftl,o sfustirrurtrlrrr'rrs nrrtl tlretrurrlilit'irlirrtrol'itstrttltrt-
hr,l'*, n,r.isl,iill ,l"telrriuc or-rtrlc: tcrl clr:ctiutrs.' 'ltLc rrrnj,,r'ity o1' tlro
totvtt coutrilil slrilll cotrstilutr: turlttol'ttttt4o rlo bttsitrcrs; lrttt tt stlritllcr
uun'|,.. tu,,y n,lfout:,, froni rl,ry't,r.'1,,y, :ttul tutty c,,r,'j,,,1 lltc lrtlcrrrl-
nttco of lltrctrt 1v1g111ltits, itr sul:lr trltllttlcl' rttrtl tttttlct' srtt:lr lrclrrtlties tts
tltcv tntv trt'csuriltc. tl'lrc tort'tr c,lull(iil ttt:rv tltllct'trrittt: tlr': t'ulus of
its i,tur,r"o,l'irr1;s, prrnish its urornlrr",rs lirr tlinrrirlcr'l'; crttrtlttcl,, trrtl, rvitlt
thc crlrraurt'ciicil ol't.hr'.0 rncullx,r's, tnny cxpcl tt inctulrct'. ,\ll r'loc-
tiorrs o1'o{ficcrs shull b,r goy('r'Irc(l liy drc gcttrtt'rtl lnw of tlrtr Strrto
coucqltiirig elcctiotrs, ntrtl'no I,r0l)r't'ly tltttiific.rtiou lirl t'otcrs shull
cvcr l)0 rcrlrtit'crl,

                         l{lt$sI{)NS 0n llIU T()lyN (-rt)UNCIL.

     Anl. 4. 'flrut irll rrt'rlittrnces of thc {orvn cotttttil ghtll hc rctrl
orr llrlco diflclorrt rln;'s I nrul rr nrrriolity of tlrc t'olt's ol lltcr tutt'tr
corrrrcil slrnll llcnccciitt'y to l)llss rll otrlittrtttct'$; ttlrrl rrtt tltc !rrssltgo
<.rf nll oltliturlrties, tlr0
                              t'rigxs"-tttrtl ttrttlyrt" slurll L,t t'eg0r'(lcrl'

          0ItNuilAI, .1,0\l'ttns oF'I'lIlt lt.{rolt AN!) T0$'N 00tl)iclL'

    Artt. 5. That tlrc rnil-yol' nttrl totvtt cortttcil sltrrll hnrc port'cr
rrithin tlrt: toryrr, ir.y otrlirrirrrlc : Iirst--'[t, tttnltc t'egttlrrtiotti ftrr
pt'cvcttting thc irrtiorlrtctiott o{' eotrtrgitirrrl rliscltt'lt',t iirio lhc torvrr.
bcc,rutl-'lio cstrr,lrliilr n, ltosliitrtl, ntrrl irrrrlic ttgttlitli'trs lirl tlre gov-
ct'trtucltt thc'r'cut'. 1[lrilrl-ito trut.kc t'e rlrtlrri.iurrs to tlccttrrl tllt' gctrcrrtl
                                              '1tt'cvctrt
hcnlth of t,hs illtnlritrrnts, nrtrl                        ltrrl tctrt<lt'0 ttttisrtttccg.
Iionrth-tllo cl'oct e nrat'ltct ltottstl, atltl tnrtrkct pl,rcc, itttrl to ltro-
ridtr for llre got'crntncrrt tlrt'r'co['. l''illh-_'J'o lict:trse, tlx Ittrrl lcgulnto
billjnltl lrrhlc.r, tippling ltousus, rttrtl tlt'nttt -sltops, ntrrl to srlJll)rc$t
grrririug nnd gririrllling ltouscs, ttttrl oilrer rlist'r''itrrl,y ltrltt.-"t:s.
Sixt,h*To 1,r'or;irlo for' [lrc prcvctrtiotr uttrl cxtitrguisltlrrcut of fir'cs,
rrtrd olgnrtizirtg nrtrl csurblisliing fit'c cotnpotrics, nti,l to t'egrtlrrto nntl
lcstl'uiii tlro cui'ryirrg on of urrirrulnctulics tlirltgct'ous itt cnusiug ot'
        Case 7:21-cv-05334-NSR Document 67-3 Filed 11/30/22 Page 18 of 22




                                  SPDCIAL I,AIVS.                                             1B

Il'orlucinq fir'cs. Scvctrth-'Io csttblish etand,lt'tl ryoiglrls urrd
ir,"u*,,,"r','.,,r1 to rcgrrlrttc tho wcights trtttl ttttugul cs to lrt' ttsctl itt
tlro towtr, itr nll ctsJs rrot r.tllreltri.io 1,r'ovitlcd ly luw. liiglrtlr-'Jlo
fix thc courll.lrrr+ittiott ofl llrtr totru uflit:ct'-", ttol, otIt't'rVist' lrtrrt'ir.lerl ftlr,
ond t,) r'rrgrrinto thc fccs ol'ull jrrlot's, ttittrcsst's, nlrtl tttltets, lbr scl'-
viccs rcrri[t,t'erl ttrrtlct' tltis uct, ot' ittt otrlitttrttt:0. Nirrth--11'o regu-
lrrto tlro 1x-rlit,o ol'tlrc towtr, to itrtpo,ro firrt'u, lirrliitrtl'tr.r tt_tttl lxltrnlties,
lo 1rr.9vitlo f,rt t,lrtr t'e(i(,\'r:r'V trtrrl rrlrlrt'ttpt'inliotr o[' sutrh fitrcS ttrtl ftrt'-
fciirrr.cs, rrrrrl tlro orrlirt'cr:tircrrt u1' *xtrh lrt,trnltics 1 ltrot tdel, Iut fitrs
                                                                         [cl'ln ot' itrrllt'isotr-
cltnll r:x:ccrl rrnc ltttttrltt:tl rlrrllrrt's, ttot' clrrtll itrlytllcrrtlr--'llo
Inorrt cxr:t:r,rl fillt'crr .lnys li.'r' nrry oltc offclu'Js .                         1rt'ovcttt
thc nsscrrrlrlirgc ot'itllr: l)ct.qr)rrlJ rtI ot ttcl:r-ctol'e ltuttso tlot,ts, wltet'clry
thc tltrlcol'sirt')r Jtor'o i$ itrlct't'tt;rttrrl. rttrtl ttl:o to 1rt'cvt:trt or t'cstt'rtitr
nlr-y riot,rli*ltttlrrrttcoc'r'rlisot'rlclly trssetrrlrlrrgc itt rttr.y $trcct, ltottso,
ur'-111,,,'c irr tlrtl   totvtr. Iiltrvcltlr--1lttt 1rt'ct'cltt ttlttl lrrntoYu nll crr-
cloirr:lrrrrr,trt.u rtlrtttr ttll .qttt'ctsr lullcs, ttYclltlc!, tiull llllc.V$ cstnblishrxl
lly lrrrv, or ,rtrlitutttct:. lltrrclllll'-'l'tt cxet't irltt cutttlrltrtc rlrrtl pcr'l'eut
cirrlr,,l ovct'lltc c{rrrtr(rt}, nrrrl trll l)llrlrcl'lJ lrr'Irrr;iitrg trt tlls torYttt
r'oul or' pet'sottrtl, 'wlrt'tlrt't' l.f irrg rtitlrirr rrt' lrt'yottrl tlrr: lirr,ils o[' [[u
co1t,,,,rnii,t,i t:t'crrlutl lry tlris-rrcl,, rttttl tlr., a:tlttc ltt lerrc, scll, lt'trtrsli:t'
nud di:.rlx)r.rc ,r{l e itlrci nl,.'oltrtciy t,r' rrithitr littritrrtiort, to rtti; l)('l'Hi)lt
()l'lrt:t'srirrq \rlroru,,t,x'vr:l', rulrl g(:trct'ullv trt tttitlitl Huclr rttlcs, t'(';{ultt-
tioirs, lry. luus, utrd orrlitruttc ll ibl thc l)ltl'l)o,r0 i.rf ttrrrilrtrritrirrg tlre
pc'ncc, irxxl r,r'{l(:l' tlril go-r'r:,'lttncltt rtf tlrc ''towtr o['llillicnrr," nrrtl tlrc
il',t,lc,'it,,rr,tuor'(:(r, irlril trllttrtllit(:ttltcs tlrct'r:rrf, nu llrc corttrrril tnn;r
dcCtrr cxpcrlictrl, utttl lrs rrltty t'r1 110 t'trlrtlgnttllt to thc lrrtVs rttrtl C)orr-
stitutioriof' llrrr $trrtt: ; iul{i to etrf',-'t'ce tltu ollscrvrttrcc ol' rnirl rulcs,
lcgrrlntiorrs, lry-lntrs, ntttl oltlitrrttrcur, l'y irrflitrtitrg pctrultit:r lbl tlrc
viol;rtiorr thcr'uof, nuL cxr;tre'rlitrlj otro ltrrtrrll't'rl rk,llrrttg {irr rrtry otrc
ofl'crrsc, tt,cot'ctulrlc nitlr t:osts irr atty nctittrt ol'tlcl-rl, ly rttrrl itt tlro
lrilnrc ol'tlrc '{tutvtr o[ I\lillicut," l'tn' ths tt.rc o[' the tott'tr, lrcfirt'c tlry
coul't lrrrvinlj   r:r'gtrizrttt0c of' thc sutnc.
                --'l'li,r.t
    Anr, ti.                l.Ltr trtrtyot' slrull llc l.hc chicf cxe(lllti\'0 oflicr:t' of
{.lro torvrr, rrrrrl slrull bc clct'tcil by tho rlrrtlilicd votcl'$ tL{.'rurf, nnd
ahnll holil his o{fico fol thu tt'r'ur tf trvti ycnt's. llis sulury slrtll bo
fixcd hy the ulrlet'urcr of thc toln, l-rut ulrrrll nol, irr tllly ovcrlt' cx'
ccctl tlic $unlc)l'fivL. lrundrcrl tlollals llr)r'nunutn ntrrl l',:eg c,f ollirrc.
     AItr. 7. 'l'lrrtt tlrcro shnll be n toivt. lrtru'$hnl. rvhouc dutics sholl
lic tho sulc as those o[ otltcr pcutrc offit.cl's, lllxl $uch othct' duticp
ns nulv ltc urtrscribod bv ot'tlitrritrccs. '1'lrc mut'rlrrtl ulrnll llc clcctcrl
bv th6 (tu,riific,l votcls i)f tlrc torvtt fut thc tct'rn of tlo ycrtrl, tttttl
sfiull lcccivc $uch sllulJ', bcsirlcc his I'ccs irr o{licrt, os tlto urrryot'uurl
l.rorttrl o{' rtld,:t'tttctt nr:ry. l)f ht'lnrr', rlcttrt'tttiltc.
    Arrr, 8. Tlmt thcinuyor'und thc othor olliccl's of tbo corporu'
          Case 7:21-cv-05334-NSR Document 67-3 Filed 11/30/22 Page 19 of 22




14                            SPECIAL LAWS.
tion shnll rcsido rvithin the limits df the town durirrg thr:ir eontinu'
qnco in o{Iioo I and if thc mnyor slrall certso to rcsids rvithin tho
lirnits of the torvnr his o{licc slinll thcreby bo vncatctl. 'l'hc tnn;'or
nlrnll hnvc tltc srmc julisdiction ts justices of the pcacc, nithin tlto
Iirnits of tltc totvn, in nll Statc coses I ltc nhnll lrtv,l iulirrrlictiotr
ovcr all crscs nt'isittg unrlcr nny ortlinnttcc of tltc tott'n, rulrject to
nn oppcul ot'wt'it of-certiorari,-in nll cnscs, to thc rli,qtlict cout't1
tnd'ovcly srrch uppcnl nlrnll be tukcn rtntl grltrterl in tho snnlc
mrrnncl' ris nlrpcnhi tl rvritr ol' earliornri nrc'talicn utrtl gtrrtttctl
ft'onr theitrsticc's courl, ttt tlre tlistrict t:orrt't, unrlcr tlrc gcnclul lln's
of tho Stltc. IIc slrnll tilrnt'ge irt tll crscs tl:c stttto {i'cs ns nt's
nol nllolctl to justiccs of thc'lrcnco ltrl thc snrno kind of set'vi,rcs,
which l'ccs slrrrlI bc chnrilcrl nrrtl collcctctl ns othcr costs I nnd ltc
uhnil nc't ns plcsirlcnt
              -'l'ltc    o{' thc bonrtl of nllet'trtcn.
   An'r. 0.            tn'rvot' nLnll lLo nttthot'izld to ntocttt'c rr senl ftrt
lho unc of his ollice, "on rt'lricll slrnll bc englnt'e.d                  of llilli'
cnn, l\Inyor's    O{fiuc."
                                                              ""f'ottn
          -1.0.
   Anr.            llhnt fi'orn nrid rftcl thc lurssngc of thil Irct it rihrll bo
unlrr,rvful [o fit'c nrrS'pintol. r'iflc, slrot gtrtr, orothcr liirrtl ot'fiLcttt'tns,
rvithin tho linrits oi iho tou'n of llilliCnu, nntl nttl'llcl'sotl violrrting
thi.s act shnll bc fincd uot lcss thrrn five not' ntot'b tlrtn trvctrty-fivc
dollnls, to bc collectcrl by thc n){lJ'c'l' of tlre torvn I but this rrr:t uhnll
ruot prcvorrt nny gutrstnith within thc linrits of tho totrtt fi'om dis'
churging on tlic pt'cmiscs tlret'cof fircnrms tnarle or I'cprtircrl in lris
slropi frrl tho prilposc ol' trnining strclt fircnt'tns; Ttioridul, thtrt
nono'but gunsniiths nlnll lttt'c tho plivilcgc of Leirrg. arttholizcrl -to
disclru,r'go'hlou'rlrs, ntrrl firr tlrnt prrlposc cnih grnrsmilh nlrrrll llrrild -n
t'ock u'all, in li'orrt of rvhich llc slrnll cirusc n tnt'gct,to lrc ltlrtcc_tl.
Iltc ntnyor rrlrnll isgtrc n pet'trtit to ntry grtnstuith nplrlyiug lbr' -tlrc
snmc fol' flrc pcriod of otrc yeu,', wlticlt 1rct'rnit tnrry bc l'ellu1\'c([ rttcr
its cxpirntion.
   rtni. tt.      lllrnt it; shnll trot bc lnrvful fol nny pelson to cstthlish
r slnughtcr houso rvithin tho corpot'atc lirlits of thc tott'tr uithout
tbo poirnissiou of tlro torvn councii, nor slrall it lrc lnrvtrrl lix tnX
pcrsbn to slnughtcr' :ttty lluteltu't's nrcnt of any ltirrtl ltithirl stid cor'
irolntc lirnits, Exccpt fdr thc rrsc of rltc pet'.c'Jtiso-slnttghtclirrg. Any
pcr'Bon (,r pcl'solrs so offcnding shnll lie tlccmcd grtilty of' u mistlc'
incu.tor, nnd, on convicl,iott th-rcc[ elrnll bc fitrctl ttot, lcss tltan tcn
doll&r's fot' cnch olfcnnc.
   Anr. 19. Thnt tlris nct slrtll toire effcct frorn and aftcr itst'pas-
sagc, nnd ,ghnll bo sulljcct to thc plovisious of on nct cntitlctl      An
acf,to autholizc tho G6r'ct'nor to nppoint ccltnin olllect's to iill vacan-
cics," npprovcd June 28, 1870.
   Approved N{lrch 13, 18?1,
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           Case 7:21-cv-05334-NSR Document 67-3 Filed 11/30/22 Page 21 of 22




       PUBLIC LAWS A[iD RESOLUTIONS

                                       (rF fHll




STATE OF NORTH CNROLINA
                                 }AS\ED BY THE




          GENERAL ASSEMBLY
                                       AT ITS



                         SHSSION OF t899.


           BEGUN AND HELD IN TITE CITY OF RAI,EIGH



                                        ON




WEDNESDAY, THE FOLIRTH DAY OF JANUARY, A. D. r899,



                    PUBLISHED BY AUTT'ORITY.




                                 RALEIGH, \ C
    tsowanos & B.B.ocourrrr /tNrr ItM VrtELL, Srifb PRTNTLnS AND BtNrrrRS"
                                        rrlog
                      Case 7:21-cv-05334-NSR Document 67-3 Filed 11/30/22 Page 22 of 22



260                                 1899-CrmprEB I I 0-l 20-121.

                  ontl constluetl to rolato to and include tlts torvn of Wu,dosboro
                  tncl ony other lrrcorpolntsd torvn ln snld torvnalrlp, ag tvsll ae the
                  poltion of snltl torvnshlp ontsldo tlto aorltourts llntlt's of, sold
                  torvns in the urntter ancl querition of votlng for ond irsulnpl bonds
                  nntl of voting for a.nd lovylng taxos fol tlte pttt'pones deflned ln
                  srld nct. '
gublects ol taxa.   Snc, 9. 'l'hal llr rrny t&x levy ln ruy otltet'torvnship in AnsoIr
tlod sbsll bo ln. ooulrty, nrade in pursuttllcs of suid nct, ony lncorporotecl torvn
oludod vltbln
D€SDtn8 of rot,   thelein nnd the BubJects of tnxntlon ln rrny suclr torvtr cltall bs
                  lncludetl rvlthin tho rueonlng onrl lntent of sold oct,,
                    tslic. B, Thut this oot sholl be ln foroe frotn ontl ofter lts urtltl.
                   cntlon,
                     Rntl0ed tlto 10th doy ol llebruru'y, A. D. 1800,


                                               cllAlr'l'olt 120.
                      An act to prohlblt 8h00tlng 0uns or plstols ln the towns 0f Sparta'
                                Alleghany county, and J0ff0r80n, Aehe county.

                  'I'he Outcrttl Asse tnbly of North. Carol.inrt cl.o en.a.ct:
thoottnq cunB lD     Sncrtos l, 'I'lrr..i it shnll bo unlorvful lor nnypersou woutouly
Eparla eiilJeffeF or
ron unlowful.         in npolt to nhoot or tllscltnrgo nny gun or pistol ltt or withht
                   one lruntlrcd yllds of n,ny stroet iu or ony publlo rond lentllug
                   out of tho torvrrs of Sportn, ln Alleghony coutrty atttl Jofferson in
                   Ashe county for t rllstrtnee of ono.fourbh trtile ft'ottt the court.
                   hortses ltt tnitl trrrvrtc.
ldlsd€moa,non        SDc, 2. 'fhat any perdon vloluting scotion ono of thlil lct shnll
PonBlty.           be guilty of n, rulrdetlteonor, ottd upon conviction eholl bs fltroil
                   not to oxeeerl 0fty dollors ot' lmprieoned not to exceotl thlrty doyr.
                      Sttc. 8. 'Iltrlt this oct shall be in full forco frottr ntrcl after Alull
                   Itrnt, ei ghteen huntlred &lrcl trinety. nl tro.
                      llntifletl the lOth tlny of Ii'ebruot'y. ,A. D. 18t)0,

                                               (.ll{AP'rEtt 121.
                     An act to amond soCllon ono ofohaptor olghty.one, of publlo laws of
                                    olghteen hundrsd and nlnety.aeven.

                   !'ht: Gettetrtl :Lssautbl.y of Norl'lt. Cttt'ol'htn. il.o cttttct:
                      Snctrox l. 'flrrt aection one of snltl nct be atrrendocl by plrroitrg
                   rrftsr tlre worrl "do" ln roltl scction tlre follorvlng: "ltt'otrided,
                   thnt oll thot portlorr of I{ydo cotrnty betu'ecn Alligotor oncl Long
                   Shool llvere nnd boundlng llnttonruclteet lnke on tho ttot'tlr,
                   enst nnd northenet bo rrntl the s:rtue iA oxclrttlstl frotu the ttppll-
                   ettion of tltls not."
                      $tcc. 9. 'fhls nelsholl be ln forcs froru uutl oftel ltr rati{laatlon.
                      Itntilled the tlfth doy of li'ebrttnry, A. I). 1800.
